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                                          June 12, 2024

VIA ELECTRONIC FILING

The Honorable Gregory B. Williams
United States District Court for the District of Delaware
J. Caleb Boggs Federal Building
844 N. King Street
Wilmington, DE 19801

        Re: General Electric Company v. LPP Combustion, LLC, C.A. No. 22-720-GBW

Dear Judge Williams:

        Pursuant to Stipulation and Order Granting Extension of Time for Certain Case Deadlines
(D.I. 90), the parties write to inform Your Honor that a mediation occurred on June 5, 2024, with
retired District of Delaware Judge Sue L. Robinson. The parties were unable to resolve this matter
at the mediation. The parties are meeting and conferring regarding a proposed schedule for the
Court’s consideration.

                                                     Respectfully,

                                                     /s/ David E. Moore

                                                     David E. Moore

DEM:nmt/11561122

cc:     Clerk of Court (via hand delivery)
        Counsel of Record (via electronic mail)
